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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERIA,                            Civil No. 0:24-cv-02944 (KMM-JFD)

               Plaintiff,
      v.                                                [PROPOSED] ORDER

EVERGREEN RECOVERY, INC.;
EVERGREEN     MENTAL   HEALTH
SERVICES INC.; ETHOS RECOVERY
CLINIC INC.; SECOND CHANCES
RECOVERY HOUSING INC.; SECOND
CHANCES SOBER LIVING, INC.;
DAVID BACKUS; SHAWN GRYGO;
and
SHANTEL MAGADANZ,

               Defendants.


      This matter came before the Court upon Evergreen Mental Health Services Inc.,

Ethos Recovery Clinic Inc., Second Chances Recovery Housing Inc., Second Chances

Sober Living, Inc., and Shawn Grygo (collectively, the “Evergreen Defendants”) Motion

to Continue.

      Based upon the arguments of counsel and upon all of the files, records, and

proceedings herein, IT IS HEREBY ORDERED THAT:

      1.       Evergreen Defendants’ Motion to Continue is GRANTED.

      2.       The hearing scheduled on Plaintiff’s Motion for Preliminary Injunction, ECF
               No. 21, is CONTINUED to August 16, 2024 at _____.

      3.       The briefing scheduled entered on Plaintiff’s motion, ECF No. 20, is hereby
               MODIFIED as follows:

               a. The Evergreen Defendants shall file their response in opposition to
                  Plaintiff’s motion on or before the close of business (5:30pm) on August
                  13, 2024.
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             b. Plaintiff may file a reply brief on or before 12:00pm on August 15, 2024.

Dated:
                                               Katherine M. Menendez
                                               Judge, District of Minnesota




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